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   EXHIBIT B
         Case 1:21-cv-02296-CJN Document 82-2 Filed 11/03/21 Page 2 of 4


From:            Sinclair, Martin
To:              Heath A. Novosad; Jordan T.J. Howes; Douglas A. Daniels
Cc:              Connolly, J. Erik; Wrigley, Nicole
Subject:         RE: Lindell v. Smartmatic
Date:            Wednesday, November 3, 2021 1:41:11 PM
Attachments:     image002.png
                 image003.png
                 image004.png
                 image005.png
                 image006.png
                 image007.png




  CAUTION: EXTERNAL EMAIL



Heath,

As we discussed telephonically last week, the Court’s Minute Orders demonstrate that this case is
not stayed as to the Smartmatic Defendants.

The Smartmatic Defendant’s Unopposed Motion to Continue Their Deadline to Answer or Otherwise
Respond to the Complaint (ECF No. 69) was granted on October 6, 2021. (10/06/2021 Minute
Order.) The deadline to respond to the Complaint was set as October 27, 2021. (Id.) The Smartmatic
Defendants so filed their motion to dismiss Mr. Lindell’s claims against them on October 27, 2021.
(ECF No. 81.) As I noted in my email earlier today, Mr. Lindell’s deadline to file an opposition to that
motion is Thursday, November 10, 2021. See D.D.C. LCvR 7(b).

On October 14, 2021, Dominion filed Dominion’s Motion to Continue to Stay Deadlines as to
Dominion Pending Status Conference. (ECF No. 78 (emphasis added).) Dominion did not seek to stay
any deadlines involving the Smartmatic Defendants. Nor did Mr. Lindell seek to stay any such
deadlines as to the Smartmatic Defendants. As such, no request for a stay with respect to the
Smartmatic Defendants was before the Court.

On October 18, 2021, by Minute Order, the Court “granted” Dominion’s motion and wrote that “the
case will remain stayed pending resolution of the issues to be discussed during the October 25, 2021
status conference in US Dominion, Inc. et al. v. My Pillow Inc., et al. (Case No. 1:21-cv-00445-CJN).”
There was no stay as to the Smartmatic Defendants to “remain” in place, the Smartmatic Defendants
are not parties to Case No. 21-cv-445, and, again, a stay of deadlines involving the Smartmatic
Defendants was not before the Court.

In our conversations on October 25 and 29, 2021, we advised you that this case was not stayed as to
the Smartmatic Defendants and the reasons why. During those calls, you had the opportunity to
propose a date certain as a deadline for Mr. Lindell’s opposition to the pending motion to dismiss.
(See Standing Order for Civil Cases, Sec. 9 (ECF No. 74).) You did not do so. Instead, you seek to
postpone Mr. Lindell’s deadline indefinitely due to proceedings in a case to which the Smartmatic
Defendants are not parties.
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Given the Court’s Minute Orders and the prejudice the Smartmatic Defendants would suffer by the
indefinite delay of a resolution of the claims against it, we do not agree to the relief you have
requested.

Very kind regards,
Martin



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Bio

Confidentiality Notice to Incorrect Addressee: www.beneschlaw.com/confidentialitynotice
From: Heath A. Novosad <heath@dtlawyers.com>
Sent: Wednesday, November 3, 2021 11:11 AM
To: Sinclair, Martin <MSinclair@beneschlaw.com>
Cc: Jordan T.J. Howes <jordan@dtlawyers.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>
Subject: Lindell v. Smartmatic

Martin –

Consistent with our discussions last week, it is our understanding that the Court’s October 18 minute
order stayed the entire 1:21-cv-2296 matter, including Mike Lindell’s claims against both the
Dominion defendants and the Smartmatic defendants. On our calls last week, you indicated that it
was Smartmatic’s position that the case was only stayed as to Dominion, and Smartmatic filed its
motion to dismiss on November 1.

As discussed on Friday’s call, we would like to postpone further action in the case until the appeal of
the 445 matter is resolved and a Court sets a schedule for Dominion to answer or otherwise
respond to our complaint and a deadline for us to respond to the filings by both Smartmatic and
Dominion, so that there is consistency and order to the briefing schedule. Will Smartmatic agree to
that relief?
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We are going to be filing a motion for clarification (as to whether the stay applies to the entire case
or just as to Dominion) or, in the alternative, a motion for extension of time to respond to
Smartmatic’s motion to dismiss consistent with our discussions and this email. We intend to file our
motion this afternoon. Thank you for your consideration.

heath
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